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“I will stand for my client’s rights.                                                                  direct: 843.216.9118
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    –Ron Motley (1944–2013)



           November 3, 2023

           VIA ECF
           Hon. Richard Mark Gergel
           U.S. District Court for the District of South Carolina
           J. Waites Waring Judicial Center
           83 Meeting Street
           Charleston, South Carolina 29401

                                 Re: In re AFFF Products Liability Litigation, MDL No. 2:18-mn-2873-RMG


           Dear Judge Gergel:

           As the Court may recall, during the October 31, 2023 Case Management Conference, the parties informed
           Your Honor that they may need an extension from the current November 1, 2023 deadline to submit a
           proposed plan for the depositions in Tier Two fact discovery permitted under CMO 27 (the Telomer AFFF
           Bellwether Plan).

           The parties have met and conferred and jointly respectfully request an extension to provide the proposed
           deposition plan to the Court on or before November 21, 2023. This date aligns with the deadline by which
           the parties will present their agreed upon, or competing, Tier Two case proposals. This extension is
           requested because the parties will be in a better position to make a well-informed and efficient deposition
           plan at the end of Tier One Discovery.

           We thank the Court for its continued time and courtesies.

           Respectfully submitted,




           Fred Thompson, III
           Plaintiffs’ Liaison Counsel


           Encl.

           cc:        All Counsel of Record (by ECF)
                      Cary Kotcher (by email) (Cary_Kotcher@scd.uscourts.gov)




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